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				WITHDRAWN2021 OK CR 12492 P.3d 19Decided: 08/31/2021
Cite as: 2021 OK CR 12, 492 P.3d 19

				





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	

Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 21, 497 P.3d 686, STATE ex rel. MATLOFF v. WALLACECited
&nbsp;2021 OK CR 24, 495 P.3d 670, BENCH v. STATECited
&nbsp;2021 OK CR 39, BENCH v. STATECited


	
	
	Citationizer: Table of Authority
	
	
		
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	None Found.
	
	








				
					
					
				

		
		




	
		
			
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